       Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 1 of 10



                               UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION

                                                      )
 Aldaress Carter, et al.,                             )
                                                      )
          Plaintiffs,                                 )
                                                      )
          v.                                          )         Case No: 2:15-cv-555(RCL)
                                                      )
 THE CITY OF MONTGOMERY,                              )
 ALABAMA,el al.,                                      )
                                                      )
          Defendants.                                 )
                                                      )

                                         MEMORANDUM OPINION

          Despite this Court's ruling substantially denying the City of Montgomery's (the "City")

fully-briefed and argued motion to dismiss, Order, ECF No. 98, the City seeks a second bite at the

 apple. The City moves for judgrnent on the pleadings, again asking this Court to dismiss all of

 Mr. Carter's claims against it. See Mot. J. Pleadings, ECF No. 200. In support of this de facto

motion for reconsideration, the Court relies principally on McCullough v. Finley ("McCullough

IP), an Eleventh Circuit opinion evaluating a distinct issue in a separate, albeit admittedly related,

case involving different parties and a different coinplainti See 907 F.3d 1324 (11th Cir. 2018).

Specifically, the City argues that "the Eleventh Circuit has now definitively rejected" this Court's

ruling "that it could be found that a City policy was the moving force behind the alleged




 I The City also attempts to gain traction from Thurman v. Judicial Corr. Servs., Inc, No. 17-14450,2019
                                                                                                         WL 157547
(11th Cir. Jan. 10,2019). lit Thurman,the Circuit held that the Rooker-Feldman doetrine barred a claim
                                                                                                        by a plaintiff
seeking return of fees paid to JCS pursuant to a probation order that was unsigned. Id. at *1-4. There, the Circuit
stated it could not even "peer into Alabama law to determine whether an order must be signed because the
                                                                                                             Rooker-
Feldman doctrine bars federal courts from adjudicating the validity of state court orders." Id. at *3. Mr. Carter's
Section 1983 claims do not challenge the merits of the Municipal Court's decisions nor the bases on which those
judgments were reached. These claims challenge only the post-judgment probationmy program. See Ray v. Judicial
Corr. Servs., Inc., No. 2:12-cv-2819-RDP, 2013 WL 55428395, at *11. Thurman does not bear on those claims and
does not necessitate dismissal ofthe City entirely.

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     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 2 of 10




constitutional wrongs[d" Mot. J. Pleadings 8-9, ECF No. 200. For the reasons stated herein, the

Court disagrees. The City's motion will be DENIED.

       At this time, the Court also considers the City's Motion to Dismiss Counts Eleven(money-

had-and-received) and Count Thirteen (false imprisonment). See Mot. Dismiss, ECF No. 148.

These causes of action were added to the Mr. Carter's complaint after the city's initial motion to

disrniss. See Order, ECF No. 143. For the reasons stated herein, that motion will be GRANTED

and those counts will be DISMISSED.


I.     The City's Motion for Judgment on the Pleadings[ECF No. 200]

       Under Federal Rule of Civil Procedure 12(c), a party may move for judgment on the

pleadings lalfter the pleadings are closed—but early enough not to delay trial." "Judgment on

the pleadings is appropriate where there are no material facts in dispute and the moving party is

entitled to judgment as a matter of law." Cannon v. City of PK Palm Beach,250 F.3d 1299, 1301

(11th Cir. 2001). In determining whether a party is entitled to judgment on the pleadings, the

Court accepts as true all material facts alleged in the non-moving party's pleading and views those

facts in the light most favorable to the non-moving party. Hawthorne v. Mac Adjustment, Inc.,

140 F.3d 1367, 1370(11th Cir. 1998).

       Setting aside the state law claims discussed in Part II of this opinion, nearly all of Mr.

Carter's remaining claims against the City seek relief under 42 U.S.C. § 1983 for alleged

constitutional violations related to the probation program run within the City. See Second Am.&

Restated Conipl. Counts 1, 3, 5, 7, 9,ECF No. 145.

        Section 1983 allows persons to sue municipalities acting under the color of state law for

violations of federal law. Hill v. Cundiff, 797 F.3d 948, 976 (llth Cir. 2015). Under 1983,

"municipal liability is limited to action for which the municipality is actually responsible."

                                                 9
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 3 of 10



Penibaur v. City ofCincinnati, 475 U.S. 469, 479 (1986). "A municipality therefore may be held

 liable 'only if such constitutional torts result from an official governrnent policy, the actions of an

 official fairly deemed to represent government policy, or a custom or practice so pervasive and

 well-settled that it assumes the force of law.'" Hill, 797 F.3d at 977 (quoting Denno v. Sch.Bd. of

 Volusia Cty., Fla., 218 F.3d 1267, 1276 (11th Cir. 2000)). The municipality must be shown to

have "authority and responsibility over the governmental function in issue[J" Grech v. Clayton

Cty., 335 F.3d 1326, 1330 (1 Ith Cir. 2006), and the policy or custom must be the "moving force"

behind the alleged constitutional torts. See Monell v. Dept. of Soc. Sen,s., 436 U.S. 658, 694

(1978).

        Here, the City argues that the Eleventh Circuit's opinion in McCullough II forecloses a

finding that the City had authority and responsibility over Judicial Corrections Services, Inc.'s

("JCS") actions and that any policy by the City was the moving force behind the alleged

constitutional violations.

        McCullough et al. v. The City of Montgomecy et al. is another case pending before this

Court arising from the probation system operated by JCS in the City.                2:15-cv-463-RCL

("McCullough F). Although the underlying subject matter between that case and the present

action is the same, the complaints are different, and the McCullough plaintiffs made daily's against

a number of persons not in this action,such as the City's chief of police, the former chief of police,

the presiding judge and the former presiding judge of the City's Municipal Court, and the mayor.

See id. On the same day that the Court issued its order and opinion on the motions to dismiss in

this case, the Court issued an order and opinion in McCullough L See 2:15-cv-463-RCL, 2017

WL 956362(M.D. Ala. Mar. 10, 2017). In that opinion, the Court held, inter alia, that neither the

presiding judge nor the forrner presiding judge could rely on judicial immunity, id. at *9, and that



                                                  3
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 4 of 10




the chief of police, the former chief of police, and the mayor could not rely on qualified immunity.

Id. at *12.

       On interlocutory appeal, the Eleventh Circuit reversed that holding. 907 F.3d at 1135. For

the judges,the Circuit found that they are entitled to judicial immunity because all the alleged acts

were judicial in nature and the motivation behind the acts is irrelevant to the immunity analysis.

Id. at 1330-33. For the other individual defendants, the Circuit held that the McCullough

complaint was devoid of non-conclusory allegations connecting the mayor or pol ce chiefs to the

alleged constitutional violations. Id. at 1332-35. Accordingly, the mayor and police chiefs were

found to be entitled to qualified and state agent irnrnunity. Id. at 1335.

        The City attempted to participate in the appeal in McCullough, but its appeal was

dismissed. See McCullough II, Order (Aug. 17, 2017) at 3, No. 17-11554. The City claimed a

right to appeal because the claims against it were "both inextricably intertwined with and solely

dependent upon the actionc of one of the Municipal Court judges. McCullough II, Appellants'

Joint Suppl. Mem. Jurisdiction, No. 17-11554. The Circuit rejected this argument, stating that it

was this Court's denial of immunity that entitled the appellants to interlocutory appeal and that the

City could not "piggybacr on the other defendants' proper appeal. See McCullough II, Order

(Aug. 17, 2017) at 2, No. 17-11554. Specifically, the Circuit held:(1) that the Court "left open

the possibility the judge and the City were independently responsible for creating the policies at

issuer(2)that "the City's liability does not necessarily match the judge's," and (3)that "the City's

appeal is not inextricably intertwined with the judge's entitlement to immunity." Id. at 3.

        Still, the City argues that the Circuit's decision in McCullough 11 precludes its liability to

separate plaintiffs in a separate case. Specifically, the City relies on this Court's incorporation of

the reasoning from McCullough 1 into its motion to dismiss opinion in this case to argue that all



                                                  4
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 5 of 10



the non-conclusory allegations in the Carter complaint are either judicial acts or insufficient to

establish the City's liability. Mot. J. Pleadings 9-13, ECF No. 200.

        Judicial acts by the Mun c pal Court, the argument goes, may not be attributed to the City

because the City has no authority over the Municipal Court. See Mot. J. Pleadings 7, ECF No.

200; see also Turquitt v. Jefferson Cty., 137 F.3d 1285, 1292 (11th Cir. 1998) ("[L]ocal

governments can never be liable under § 1983 for the acts of those whom the local government

has no authority to control.").    Municipal courts in Alabama are a part of Alabama's unified

judicial system. See AIa. Const. of 1901, Art. VI, § 139(a)(stating that "the judicial power of the

state shall be vested exclusively in a unified judicial system which shalt consist of . . . such

municipal courts as rnay be provided by law."); Ala. Code §12-1-2 (Same). The Supreme Court

of Alabama is authorized to create procedural and administrative rules for municipal courts. Ala.

Code § 12-2-19(a). State law grants municipal courts authority to impose probation on defendants

and set the conditions for such probation. See id. § 12-14-13. And the Court of the Judiciary—a

state court—is responsible for sanct oning a municipal court judge for misconduct or ethical

violations. See Ala. Const. of 1901, Art. VI, §§ 156 & 157. Accordingly,some courts in Alabama

have held at the summary judgment stage that the municipality did not have control over JCS's

actions and therefore could not be held liable under § 1983, see, e.g., Ray v. Judicial Corr. Servs.,

No. 2:12-cv-2819-RDP, 2017 WL 660842, at *12(N.D. Ala. Feb. 17, 2017), a fact of which this

Court was aware at the time of its opinion on the City's motion to dismiss. Carter v. City of

Montgomery, No. 2:15-cv-555 (RCL), 2017 WL 957540, at *2(M.D. Ala. Mar. 10, 2017).

       But tliis case is not at the summary judgment phase and Mr. Carter has pleaded rnore in his

cornplaint—a complaint unevaluated by the Eleventh Circuit—than judicial acts. Under Alabama

law, the inunicipalities are responsible for "provid[ing] appropriate facilities and necessary



                                                 5
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 6 of 10




supportive personnel for the municipal court and may provide for probation services." Id. § 12-

14-12. This includes the "power to contract with a private firm to aid in the collection ofdelinquent

municipal court fines." Wilkins v. Dan Haggerty & Assocs., 117C.,672 So.2d 507, 510 (Al. 1995).

And here, Mr. Carter alleges that the City exercised its adrninistrative authority under Alabama

law to contract with JCS as part of a scheme to increase revenue at the expense of its residents'

constitutional rights. E.g., Second Am. & Restated Compl. ¶¶ 27, 29, 101, ECF No. 145. In its

contract, the City granted JCS an "exclusive franchise for the provision of probation services. Id.

TT 27, 356. It allowed JCS officers to carry badges and refer to themselves as "probation officers."

Id. ¶ 28. Furthermore, Mr. Carter alleges that the City directly participated in the scheme,

"modify[ing] orders of incarceration outside of any forrnal judicial process" by:

       decreasing a person's jail time from what was announced in open court so that a
       person is released with a rernaining balance owed; allowing a person's release
       without any hearing if the person or farnily members present money to the City
       clerk; and allowing City employees to reduce the tirne a person is ordered to be in
       jail based on labor performed in the jail without any judicial involvement.

Id. ¶ 66.

       The City, rather than the Municipal Court, chose to use JCS, signing the contract that

allowed for the allegedly unconstitutional paynient system and policies taken by JCS. Id.¶11 6, 17,

19, 27. This was an adrninistrative act over which the City has control under Alabama law. The

decision to use JCS was a city policy and practice. Perhaps, after discovery, the City will

dernonstrate that the use of JCS was out of its hands and that JCS's actions were truly dictated by

the Municipal Court and its judges. But at the present stage of proceedings, Mr. Carter has

plausibly alleged that the City's decision to contract with JCS and rnake it the exclusive operator

of probation services within the inunicipality was the rnoving force behind the constitutional

deprivations alleged. The City's rnotion for judgrnent on the pleadings will be DENIED.



                                                  6
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 7 of 10



 II.   The City's Motion to Dismiss Counts 11 and 13 of Mr. Carter's Second Amended
 and Restated Complaint[ECF No. 1481

        After the Court's ruling on the City's motion to dismiss,see Order, ECF No. 98, Mr. Carter

 asked for leave to file his second amended and restated complaint. Mot. Leave File Second Am.

& Restated Compl., ECF No. 115.             Mr. Carter sought to add causes of action for false

imprisonment and money-had-and-received arising from the same facts against JCS, CHC

Companies, Inc., and the City. Id. The Court granted Mr. Carter's motion for leave, Order, ECF

No. 143, and the City filed a timely motion to dismiss the two new counts against it for false

imprisonment (Count 13) and money-had-and-received (Count 11). See Mot. Dismiss, ECF No.

148. The Court addresses each in tum.

        A motion to dismiss is appropriate when the complaint fails "to state a claim upon wh ch

relief can be granted?' Fed. R. Civ. P. 12(b)(6). Such a failure occurs when the complaint is so

factually deficient that the plaintiffs claim for relief is not plausible on its face. Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007). Though facts in a complaint need not be detailed, Rule 8

"demands niore than an unadorned, the-defendant-harmed-me accusation." Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). The Court must accept all factual statements as true when deciding a Rule

12(b)(6) motion to dismiss. Id. at 678. However, conclusory legal allegations devoid of any

factual support do not enjoy the same presumption of truth. Id. at 679. Factual allegations must

be enough to raise a right to relief above the speculative level." Twombly, 550 U.S. at 555. This

is not a high bar however, as plaintiffs need only plead facts sufficient to "nudge]]their claims

across the line from conceivable to plausible." Id. at 547.

       A.      The City is immunefrom liabilityfor Mr. Carter's claimforfalse imprisonment.

       In Count 13 of the Second Amended and Restated Complaint, Mr. Carter asserts a claim

against the City for false imprisonment. Specifically, Mr. Carter alleges that the City, through its


                                                   7
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 8 of 10




scheme with JCS, unlawfully deprived him of his personal liberty as a means ofextorting payment.

Second Am.& Restated Compl. ¶¶ 328-336, ECF No. 145. Because Mr. Carter's claim for false

imprisonment is based on intentional action by the City, it must be dismissed.

       Section 11-47-190 of the Alabama Code provides that a municipality is immune from tort

liability "unless such injury or wrong was done or suffered through the neglect, carelessness or

unskillfulness of some agent, officer or employee of the municipality engaged in work therefor

and while acting in the line of his or her duty." In other words,"[t]his statute limits a municipality's

liability for the acts of its agents to those acts that are negligent, careless, or unskillful." Ex parte

City of Tuskegee, 932 So.2d 895, 910 (Ala. 2005). The statute does not provide municipalities

categorical immunity for false imprisonment claims. See Franklin v. City ofHuntsville,670 So.2d

848, 852 (Ala. 1995). But to state a claim for false imprisonment against a city, a plaintiff must

allege conduct that could constitute neglect, carelessness or unskillfulness. See City ofBayou La

Batre v. Robinson, 785 So.2d 1128, 1131 (Ala. 2000).

        Here, Mr. Carter fails to meet that requirement. His false imprisonment allegations suggest

intentionality on the City's part. He claims the City used arrests and jailings for extortion. Second

Am.& Restated Compl.¶ 336, ECF No. 145. According to Mr. Carter, this was a part of the City's

policy and practice with JCS. Id. ¶¶ 328. This suggests that the City made deliberate choices and

•cannot reasonably be read to suggest neglect, carelessness, or unskillfiilness. The City is imrnune

from such a clairn and Count 13 must therefore be dismissed.




                Mr. Carterfails to slate a clahnfor money had and received.




                                                    8
     Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 9 of 10



        In Count 11 of the Second Amended and Restated Complaint, Mr. Carter asserts a claim

 against the City for money had and received. Mr. Carter alleges the City illegally charged extra

 fees when fines became past due. Id.      309-18.

         "The cause of action for money had and received 'is based upon the theory that one person

 shall not be unjustly enriched at the expense of the other, and is equitable in nature." Azalea City

Motels, Inc. v. First Ala. Bank of Mobile, 551 So.2d 967, 978 (Ala. 1989)(quoting Christie v.

Durden, 88 So. 667, 668 (Ala. 1921)). An act on for money had and received is "maintainable in

all cases where one has received money under such circumstances that in equity and good

conscience he ought not to retain it because in justness and fairness it belongs to another." Jewett

v. Boihein, 23 So.3d 658, 661 (Ala.2009) (internal quotation omitted). "It aims at the abstract

justice of the case, and looks solely to the inquiry, whether the defendant holds money, which ...

belongs to the plaintiff" Id.(internal quotation ornitted).

        Here, Mr. Carter has not adequately alleged that the City actually holds the extra fees paid

by probationers. See Foshee, 322 So.2d 715, 717("The essence of.. . money had and received is

that facts can be proved which show that defendant holds money .        ."). In Count 11,Mr. Carter

discusses:(1) the doubling of city fines, Second Am.& Restated Cornpl. ¶ 310,ECF No. 145;(2)

a warrant fee, id.;(3) a thirty percent surcharge, id.; and (4) additional fees paid to JCS, id. ¶ 315.

Mr. Carter broadly alleges that "[t]he city unlawfully charged and collected these extra fees which

were paid under duress to avoid arrest and jail." Id. ¶ 317, ECF No. 145.

       But Mr. Carter's complaint lacks context for this assertion. For example, the complaint is

relatively clear that the City did not collect or hold the "additional fees [paid] to JCS." Id. ¶ 315.

Furthermore, Count 11 alludes on multiple occasions to "extra fees" collected by the Municipal

Court. Id.1111 313,315. As discussed in Part I, the Municipal Court is part of the State of Alabama's



                                                  9
   Case 2:15-cv-00555-RCL-SMD Document 206 Filed 03/29/19 Page 10 of 10




Unified Judiciary, and there is no allegation that monies submitted to the Court were then disbursed

to the City. The whole evaluation of the claim is only made more complicated by Mr. Carter's

apparent use of "the City" and the "Municipal Court" interchangeably at times throughout the

cornplaint. See, e.g., id. ¶ 53 (stating "the City's practice was to call [family members] up to the

bench"). In sum,the complaint leaves the Court ignorant to which fees were collected by the City,

as opposed to JCS and the Municipal Court, and more importantly which fees are actually held by

the City or even benefitted the City in some way. Without further clarity, Mr. Carter's money had

and received claim runs afoul of Rule 8 and Iqbal/Twombly and therefore must be dismissed.


III.    Conclusion

        For the reasons stated herein, the City's Motion for Judgrnent on the Pleadings [ECF No.

200] will be DENIED, while the City's Motion to Dismiss Counts 11 and 13[ECF No. 148] will

be GRANTED. A separate order will issue this date.




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Date:   f/7.4 /I 5
                                                                               Royce C. Lamberth
                                                                       United States District Court




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